18-13359-shl      Doc 454      Filed 01/18/19     Entered 01/18/19 15:17:47            Main Document
                                                 Pg 1 of 7


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Counsel to Fundación Rafael Dondé, I.A.P.

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                     Chapter 11

                                                           Case No. 18-13359 (SHL)
REPUBLIC METALS REFINING
CORPORATION, et al.,                                       (Jointly Administered)

                        Debtors.

In re
                                                           Chapter 11

REPUBLIC TRANS MEXICO METALS,                              Case No. 18-13644 (SHL)
S.R.L.,
                                                           Related to ECF Nos. [10, 54, 78, 227,
                        Debtor.                            277, 373, 395]



          CUSTOMER STATEMENT OF FUNDACIÓN RAFAEL DONDÉ, I.A.P.
            IN ACCORDANCE WITH THE ORDER APPROVING UNIFORM
           PROCEDURES FOR RESOLUTION OF OWNERSHIP DISPUTES

         In accordance with the Order Approving Uniform Procedures for Resolution of

Ownership Disputes [ECF No. 395] (the “Protocol”), Fundación Rafael Dondé, I.A.P. (the

“Foundation”)1 hereby designates the Fundación Rafael Dondé, I.A.P.’s Limited Objection,

Joinder and Reservation of Rights Regarding Debtors’ Motion for Entry of Interim and Final
1
  The address of the Foundation and its telephone number are as follows: Monte de Piedad 3, colonia Centro,
alcaldía de Cuauhtémoc, Ciudad de México, 06000, telephone number +52-55 5130-3100.

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EAST\163611837
18-13359-shl          Doc 454       Filed 01/18/19       Entered 01/18/19 15:17:47               Main Document
                                                        Pg 2 of 7


Orders (I) Authorizing the Debtors’ Use of Cash Collateral, (II) Granting Adequate Protection

to the Secured Parties, (III) Scheduling a Final Hearing and (IV) Granting Related Relief [ECF

No. 227] and the Declaration of Eduardo Dondé de Teresa attached thereto as Exhibit A

(together, the “Objection”) as its Customer Statement, as supplemented herein.2

                                          CUSTOMER STATEMENT

           1.       The Foundation incorporates the Objection as if fully set forth herein.

           2.       This Customer Statement pertains to the Foundation’s assets (the “Assets”) that

have been misappropriated by the Debtors:

                a. 7,363.07 ounces of the Foundation’s gold were transferred to RTMM between
                   July 2, 2018 and October 30, 2018, as described in detail on Appendix 1 attached
                   hereto (the “FRD Gold”);

                b. 2,341.82 ounces of contained silver were transferred to RTMM between July 2,
                   2018 and October 30, 2018, as described in detail on Appendix 1 attached hereto
                   (the “FRD Silver”); and

                c. an aggregate of MEX$ 75,520,712.40 (or USD$ 3,757,476.02, the “Sale
                   Proceeds”) obtained by RTMM on behalf of the Foundation following the sale of
                   the Foundation’s bars of fine gold and silver. The Foundation has learned that the
                   Sale Proceeds belonging to the Foundation were paid to the Debtors in two
                   installments: (i) MEX$ 34,592,943.04 on October 30, 2018, and (ii) MEX$
                   40,927,769.36 on November 1, 2018. Historically, sale proceeds are usually
                   remitted to the Foundation within three (3) business days. To date, RTMM has
                   continued to retain the Sale Proceeds.

                           i.     The Foundation intends to seek discovery regarding the location of the
                                  Sale Proceeds, which should be held in a segregated account since they
                                  are not property of the Debtors’ estates.

           3.       Claims Against the Debtors.                 The Foundation currently holds a number of

claims against RTMM and its affiliated Debtors, which may include claims against each of their

officers, directors, agents, employees, representatives, lenders and other legally responsible

parties. These claims include:


2
    Capitalized terms used but not defined in this statement have the meaning ascribed to such terms in the Objection.

                                                            2
EAST\163611837
18-13359-shl      Doc 454     Filed 01/18/19    Entered 01/18/19 15:17:47         Main Document
                                               Pg 3 of 7


                 a. criminal claims under the Mexican Federal Criminal Code (Código Penal
                    Federal), the Criminal Code for the Federal District (Código Penal para el
                    Distrito Federal (currently, Ciudad de México)) and other relevant laws, as
                    applicable, against RTMM, its affiliated Debtors, and their respective
                    representatives, including but not limited to Joseph Liberman and Jason
                    Rubin. Such criminal claims include, but are not limited to:

                       i.   conversion (abuso de confianza) against RTMM and its affiliated
                            Debtors for illegally disposing of the FRD Gold and FRD Silver;

                      ii.   conversion (abuso de confianza) against RTMM and its affiliated
                            Debtors for illegally retaining the Sale Proceeds; and

                     iii.   unjust enrichment (fraude) against RTMM and its affiliated Debtors
                            for being unjustly enriched as a result of the conversion of the
                            Foundation’s Assets.

                 b. non-bankruptcy claims:

                       i.   claims against RTMM for breach of that certain Service Agreement
                            between RTMM and the Foundation, dated as of April 18, 2016 (the
                            “Service Agreement”) for:

                             1)    transferring the Foundation’s non-monetary Assets from
                                   RTMM’s facility in Mexico City to the U.S. without the
                                   Foundation’s authorization or consent (express or implied);

                             2)    selling any or all of the Foundation’s non-monetary Assets
                                   without the Foundation’s authorization or consent (express or
                                   implied); and

                             3)    failure to return the Foundation’s Assets or all of the proceeds
                                   thereof (minus the 1.15% service fee on gold sales and 5%
                                   service fee on silver sales pursuant to the Service Agreement).

                      ii.   imposition of constructive trust on the Assets (or proceeds thereof).

                 c. bankruptcy claims:

                       i.   administrative expense claims to the extent any Debtor received any of
                            the Foundation’s Assets within 20 days prior to the applicable petition
                            date pursuant to section 503(b)(9) of the Bankruptcy Code;

                      ii.   administrative expense claims to the extent any Debtor received any of
                            the Foundation’s Assets after the applicable petition date pursuant to
                            section 503(b)(1) of the Bankruptcy Code.

                                                  3
EAST\163611837
18-13359-shl      Doc 454      Filed 01/18/19     Entered 01/18/19 15:17:47           Main Document
                                                 Pg 4 of 7



        4.       Summary of the Basis for the Ownership Dispute.

                    a. Throughout the parties’ course of dealing for the past four years, the
                       Foundation engaged RTMM to melt the Foundation’s gold and silver, and
                       further, to sell it on its behalf on the date indicated by the Foundation.
                       The Service Agreement, by its terms, provides that RTMM is to perform
                       smelting services and removal of stones and further sale for a fee; namely
                       1.15% for gold and 3% for silver. Furthermore, the Service Agreement
                       provides that RTMM “will assign an area of 35m23 exclusively for the
                       Foundation for the receipt, audit, valuation of its valuables collected for
                       processing (smelting).” See Section VIII(a) of Service Agreement
                       (emphasis added).

                    b. Upon the Foundation’s delivery of the gold and silver to RTMM to be
                       melted, a carta de porte (a bill of lading) is issued by a safe transportation
                       company (usually, Servicio Panamericano de Protección) (“SPP”) sent by
                       RTMM. The bill of lading indicates the metals to be received by RTMM
                       for melting or for sale, as applicable. Once RTMM is in possession of
                       such metals, RTMM issues (i) a receipt indicating the kind and quantity of
                       meals owned by the Foundation that were delivered by SPP, and (ii) a
                       format de lote (a form of lot), following a laboratory analysis, confirming
                       the quantity and quality of the Foundation’s metals received by RTMM.

                    c. If, and only if, the Foundation decides to sell its gold and silver, it will, in
                       each instance, provide express written authorization via e-mail for RTMM
                       to conduct such sale on the Foundation’s behalf at an agreed upon
                       purchase price to third parties and the applicable exchange rate for the
                       consideration to be wire transferred to the Foundation. In addition, for
                       each sale, the Foundation and RTMM will enter into a Confirmación del
                       Contrato de Fijación del Precio del Metal (a written confirmation)
                       confirming the terms of the specific sale transaction. The Foundation
                       customarily would receive the sale proceeds from RTMM within three (3)
                       business days after such sale.

                    d. RTMM has acknowledged that the gold and silver it received from the
                       Foundation continues to belong to the Foundation. See, e.g., Order
                       Approving RTMM Product Settlement With Fundación Rafael Dondé,
                       I.A.P. [ECF No. 398] (the “FRD Order”) (“WHEREAS, [RTMM] . . . is
                       currently holding at its bank vault in Mexico approximately $3 million of
                       segregated and identifiable Product (as defined in the Motion) that belongs
                       to [the Foundation]”).


3
 This denotes an area of approximately 376.7 square feet within the RTMM premises for exclusive storage of
FRD’s smelted metals.

                                                    4
EAST\163611837
18-13359-shl      Doc 454     Filed 01/18/19    Entered 01/18/19 15:17:47      Main Document
                                               Pg 5 of 7


                    e. Unlike the gold and silver which was the subject of the FRD Order, the
                       Foundation’s Assets that are the subject of this Customer Statement were
                       illegally and without authorization transferred from RTMM’s facility in
                       Mexico City to the United States (7,363.07 ounces of FRD Gold and
                       2,341.82 ounces of FRD Silver). RTMM’s unilateral and illegal actions
                       do not deprive the Foundation of title and ownership to its property.

                    f. The Foundation owns the Assets because (i) the Foundation never agreed
                       to sell those Assets to RTMM or any of the Debtors, and (ii) RTMM and
                       the Debtors never agreed to purchase the Assets from the Foundation.

        5.       Governing Law. Mexican law governs this ownership dispute. The Service

Agreement was entered into in Mexico between the Foundation and RTMM, both of which are

Mexican entities, and the parties’ course of dealings were always within Mexico. The Service

Agreement is governed by the United Mexican States Federal Commerce Code (Código de

Comercio), United Mexican States Federal Civil Code (Código Civil Federal) and, if either

statute is silent on a particular issue, the provisions of the Civil Code for Mexico City (Código

Civil para la Ciudad de México) (formerly Civil Code for the Federal District), will govern, as

applicable.

        6.       Additional Information.     The Foundation has the right, and is prepared, to

immediately file a criminal complaint in Mexico pursuant to applicable Mexican law to

commence a criminal proceeding against RTMM, its affiliated Debtors, and their respective

representatives, including but not limited to Joseph Liberman and Jason Rubin, with respect to

the misappropriation of the Foundation’s Assets (as defined in paragraph 2 hereof).

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                                                 5
EAST\163611837
18-13359-shl      Doc 454     Filed 01/18/19    Entered 01/18/19 15:17:47        Main Document
                                               Pg 6 of 7


        7.       The Foundation reserves all of its rights, including but not limited to amending or

supplementing this Customer Statement to assert any claims the Foundation may have to the

extent the Bankruptcy Court concludes that U.S. law applies to the instant ownership dispute.



Dated: New York, New York
       January 18, 2018
                                                   DLA PIPER LLP (US)

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                                                  6
EAST\163611837
18-13359-shl      Doc 454    Filed 01/18/19    Entered 01/18/19 15:17:47     Main Document
                                              Pg 7 of 7


                                        APPENDIX 1

       REPUBLIC        REFINED GOLD    LAB ADJUST   FINAL REFINED   REFINED SILVER OUNCES
    IDENTIFICATION        OUNCES                    GOLD OUNCES          CONTAINED
      LOT NUMBER


       ML014111             361.572                     361.572            105.067
       ML014112             328.726                     328.726             90.984
       ML014171             232.406                     232.406             67.653
       ML014172             242.593                     242.593             59.437
       ML014173             262.733                     262.733             53.637
       ML014174             249.747                     249.747             59.097
       ML014175             233.486                     233.486             63.764
       ML014176             243.227                     243.227             62.910
       ML014177             251.282                     251.282             57.961
       ML014178             254.799                     254.799             52.828
       ML014179             189.008                     189.008             44.647
       ML014180             194.683                     194.683             43.595
         N/A                              37.419        37.419             384.275
       ML014425             242.418       6.737         249.155             74.017
       ML014426             209.611       6.461         216.072             89.681
       ML014427             278.186       7.381         285.567             75.185
       ML014428             237.284       5.989         243.273             66.350
       ML014429             238.769       6.758         245.527             70.309
       ML014430             241.927       6.176         248.103             62.671
       ML014431             251.361       6.564         257.925             57.512
       ML014432             240.309       6.704         247.013             77.098
       ML014441             247.214       6.711         253.925             70.881
       ML014442             264.217       7.402         271.619             71.158
       ML014443             236.146       5.369         241.515             66.561
       ML014444             266.162       6.598         272.760             68.500
       ML014445             252.121       6.696         258.817             68.623
       ML014446             221.558       6.322         227.880             83.842
       ML014447             238.476       5.846         244.322             70.647
       ML014448             239.260       6.487         245.747             60.741
       ML014449             265.467       6.706         272.173             62.189
                                                       ________            ________
                                         TOTAL         7,363.07            2,341.82
